
Tucker, Judge.
I am of opinion that the assignment of the breach in the words of the obligation, is not too general $ and it has been so decided, but I do not recollect the case.
Upon examining the several acts of assembly for imposing and collecting taxes, I am of opinion, that Branch was liable for the half tax due the 1st of May, 1785 : and that if there *548is any error in the amount of the judgments, the party must ^ x tf seek relief in a court of equity.
Under the ordinance of convention, May 1776, ch. 5, sect. 8, and the act of assembly of October 1782, ch. 39, the bond was properly taken, payable to the governour.
But, if it had been otherwise, the taxes collected might have been recovered by a suit in the name of the governour, for the use of the commonwealth, under the special provisions contained in the acts of 1794, ch. 84, sect. 4, and ch. 143; and the act of 1798, ch. 19. Although the first of those laws gave the remedy on motion, or by special action on the case, the mode pursued in this case was more beneficial for the defendants than the former; and the form of the action is perhaps not material.
I am, therefore, of opinion, that the judgment should be affirmed.
Fleming, Judge, Carrington, Judge, and Lyons, President,
were all of the same opinion; and the judgment was accordingly affirmed.
